     Case 4:20-cv-05146-YGR          Document 965      Filed 01/24/23    Page 1 of 11




 1
     BLEICHMAR FONTI & AULD LLP                       QUINN EMANUEL URQUHART &
 2   Lesley Weaver (Cal. Bar No.191305)               SULLIVAN, LLP
     Angelica M. Ornelas (Cal. Bar No. 285929)        Andrew H. Schapiro (admitted pro hac vice)
 3   Joshua D. Samra (Cal. Bar No. 313050)            andrewschapiro@quinnemanuel.com
     555 12th Street, Suite 1600
 4   Oakland, CA 994607                               191 N. Wacker Drive, Suite 2700
     Tel.: (415) 445-4003                             Chicago, IL 60606
 5   Fax: (415) 445-4020                              Tel: (312) 705-7400
     lweaver@bfalaw.com                               Fax: (312) 705-7401
 6
     DiCELLO LEVITT LLC                               Stephen A. Broome (CA Bar No. 314605)
 7   David A. Straite (admitted pro hac vice)         stephenbroome@quinnemanuel.com
     Corban Rhodes (admitted pro hac vice)
 8   485 Lexington Ave., Tenth Floor                  Viola Trebicka (CA Bar No. 269526)
     New York, NY 10017                               violatrebicka@quinnemanuel.com
 9                                                    865 S. Figueroa Street, 10th Floor
     Tel.: (646) 933-1000
                                                      Los Angeles, CA 90017
10   Fax: (646) 494-9648
     dstraite@dicellolevitt.com                       Tel: (213) 443-3000
11                                                    Fax: (213) 443-3100
     SIMMONS HANLY CONROY LLC
12   Jason ‘Jay’ Barnes (admitted pro hac vice)       Jomaire Crawford (admitted pro hac vice)
     An Truong (admitted pro hac vice)                jomairecrawford@quinnemanuel.com
13   112 Madison Avenue, 7 th Floor                   51 Madison Avenue, 22nd Floor
     New York, NY 10016                               New York, NY 10010
14   Tel.: (212) 784-6400                             Tel: (212) 849-7000
     Fax: (212) 213-5949                              Fax: (212) 849-7100
15   jaybarnes@simmonsfirm.com
                                                      Counsel for Defendant; additional counsel
16   Counsel for Plaintiffs; additional counsel       listed in signature blocks below
     listed in signature blocks below
17
                                  UNITED STATES DISTRICT COURT
18
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
19
                                                      Case No. 4:20-cv-05146-YGR-SVK
20    PATRICK CALHOUN, et al., on behalf of
      themselves and all others similarly situated,   JOINT SUBMISSION RE: SEALING
21                                                    PORTIONS OF JAN. 17, 2023 ORDER ON
            Plaintiffs,                               (1) GOOGLE’S MOTION FOR RELIEF
22                                                    REGARDING    PRESERVATION,      (2)
                   v.
23                                                    GOOGLE’S          ADMINISTRATIVE
      GOOGLE LLC,                                     MOTION REQUESTING LEAVE TO FILE
24                                                    JOINT LETTER BRIEF REGARDING
            Defendant.                                PRESERVATION; AND (3) PARTIES
25                                                    SUPPLEMENTAL SUBMISSION (DKT.
                                                      960)
26
27                                                    Referral: Hon. Susan van Keulen, USMJ

28

                                                                    Case No. 4:20-cv-05146-YGR-SVK
                            JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
     Case 4:20-cv-05146-YGR        Document 965       Filed 01/24/23      Page 2 of 11




 1 January 24, 2023
 2 Submitted via ECF
 3 Magistrate Judge Susan van Keulen
   San Jose Courthouse
 4 Courtroom 6 - 4th Floor
   280 South 1st Street
 5 San Jose, CA 95113
 6         Re:    Calhoun v. Google LLC, Case No. 4:20-cv-05146-YGR-SVK (N.D. Cal.)
                  Joint Submission re: Sealing Portions of the January 17, 2023 Order on (1) Google’s
 7                Motion for Relief Regarding Preservation, (2) Google’s Administrative Motion
                  Requesting Leave to File Joint Letter Brief Regarding Preservation; and (3) Parties’
 8                Supplemental Submission
 9 Your Honor:
10         Pursuant to Your Honor’s January 17, 2023 Redaction Order (Dkt. 961), Plaintiffs and
11 Google LLC (“Google”) hereby jointly submit this statement regarding Google’s proposed
12 redactions to the Court’s January 17, 2023 Sealed Order on (1) Google’s Motion for Relief
13 Regarding Preservation, (2) Google’s Administrative Motion Requesting Leave to File Joint Letter
14 Brief Regarding Preservation; and (3) Parties’ Supplemental Submission (Dkt. 960).
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 -1-               Case No. 4:20-cv-05146-YGR-SVK
                           JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
     Case 4:20-cv-05146-YGR          Document 965        Filed 01/24/23      Page 3 of 11




 1     I.    INTRODUCTION – JOINT STATEMENT
 2           As ordered by the Court on January 17, 2023 (the “Redaction Order,” Dkt. No. 961), the
 3 parties conferred on the proposed redactions to the Court’s January 17, 2023 Order on (1) Google’s
 4 Motion for Relief Regarding Preservation, (2) Google’s Administrative Motion Requesting Leave
 5 to File Joint Letter Brief Regarding Preservation; and (3) Parties’ Supplemental Submission (Dkt.
 6 960) (“Order”). Google contends that the material proposed for redaction contains Google’s
 7 confidential and proprietary information regarding highly sensitive features of Google’s internal
 8 systems and operations that Google does not share publicly, including various types of Google’s
 9 internal projects and internal databases, that Google maintains as confidential in the ordinary course
10 of its business and is not generally known to the public or Google’s competitors. Google contends
11 that this information is highly confidential and should be protected. Plaintiffs disagree, and
12 Plaintiffs’ section follows Google’s section below.
13           Google’s section is presented as a contested administrative motion (without objection from
14 Plaintiffs as to form) and pertains to the following information contained in the Order:
15          Document                     Portions to be Filed Under Seal        Party Claiming
                                                                                Confidentiality
16
            January 17, 2023 Order on    Portions at:                           Google
17          (1) Google’s Motion for
            Relief Regarding             Pages 1:18-20, 2:20, 3:21, 3:27,
18          Preservation, (2) Google’s   4:1-2, 4:4, 5:20, 6:4
            Administrative Motion
19          Requesting Leave to File
            Joint Letter Brief
20
            Regarding Preservation;
21          and (3) Parties’
            Supplemental Submission
22          (Dkt. 960)
23
             On January 19, 2023, Google filed a motion for limited remand in the Ninth Circuit pursuant
24
     to Federal Rule of Appellate Procedure 12.1, and attached the Order thereto. Case No. 22 -16993 at
25
     Dkt. 8 (9th Cir.). Google filed a motion to seal concurrently with its motion for limited remand, id.
26
     at Dkt. 7, sought to seal only the portions of the Order designated above, and filed the remaining
27
     portions of the Order on the public docket—voluntarily waiving the right to maintain any of the
28

                                                   -2-               Case No. 4:20-cv-05146-YGR-SVK
                             JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
     Case 4:20-cv-05146-YGR           Document 965         Filed 01/24/23      Page 4 of 11




 1 publicly filed portions under seal. Plaintiffs’ deadline to respond to Google’s motion to seal in the
 2 Ninth Circuit is January 30, 2023.
 3    II.   GOOGLE’S POSITION – ADMINISTRATIVE MOTION TO SEAL
 4                      A. LEGAL STANDARD
 5          The common law right of public access to judicial records in a civil case is not a
 6 constitutional right and it is “not absolute.” Nixon v. Warner Communications, Inc., 435 U.S. 589,
 7 598 (1978) (noting that the “right to inspect and copy judicial records is not absolute” and that
 8 “courts have refused to permit their files to serve as reservoirs of . . . sources of business information
 9 that might harm a litigant’s competitive standing”). Sealing is appropriate when the information at
10 issue constitutes “competitively sensitive information,” such as “confidential research,
11 development, or commercial information.” France Telecom S.A. v. Marvell Semiconductor Inc.,
12 2014 WL 4965995, at *4 (N.D. Cal. Oct. 3, 2014); see also Phillips v. Gen. Motors Corp., 307 F.3d
13 1206, 1211 (9th Cir. 2002) (acknowledging courts’ “broad latitude” to “prevent disclosure of
14 materials for many types of information, including, but not limited to, trade secrets or other
15 confidential research, development, or commercial information”).
16
                        B. THE ABOVE IDENTIFIED MATERIALS EASILY MEET THE
17                         “GOOD CAUSE” STANDARD AND SHOULD ALL BE SEALED
18
            Courts have repeatedly found it appropriate to seal documents that contain “business
19
     information that might harm a litigant’s competitive standing.” Nixon, 435 U.S. at 589-99. Good
20
     cause to seal is shown when a party seeks to seal materials that “contain[ ] confidential information
21
     about the operation of [the party’s] products and that public disclosure could harm [the party] by
22
     disclosing confidential technical information.” Digital Reg. of Texas, LLC v. Adobe Sys., Inc., 2014
23
     WL 6986068, at *1 (N.D. Cal. Dec. 10, 2014). Materials that could harm a litigant’s competitive
24
     standing may be sealed even under the “compelling reasons” standard. See e.g., Icon-IP Pty Ltd. v.
25
     Specialized Bicycle Components, Inc., 2015 WL 984121, at *2 (N.D. Cal. Mar. 4, 2015)
26
     (information “is appropriately sealable under the ‘compelling reasons’ standard where that
27
     information could be used to the company’s competitive disadvantage”) (citation omitted).
28

                                                   -3-               Case No. 4:20-cv-05146-YGR-SVK
                             JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
     Case 4:20-cv-05146-YGR           Document 965         Filed 01/24/23      Page 5 of 11




 1          Here, the Order comprises confidential and proprietary information regarding highly
 2 sensitive features of Google’s internal systems and operations that Google does not share publicly.
 3 Specifically, this information provides details related to various types of Google’s internal projects
 4 and internal databases. Such information reveals Google’s internal strategies, system designs, and
 5 business practices for operating and maintaining many of its important services while complying
 6 with legal and privacy obligations.
 7          Public disclosure of the above-listed information would harm Google’s competitive standing
 8 it has earned through years of innovation and careful deliberation, by revealing sensitive aspects of
 9 Google’s proprietary systems, strategies, designs, and practices to Google’s competitors. That alone
10 is a proper basis to seal such information. See, e.g., Free Range Content, Inc. v. Google Inc., No.
11 14-cv-02329-BLF, Dkt. No. 192, at 3-9 (N.D. Cal. May 3, 2017) (granting Google’s motion to seal
12 certain sensitive business information related to Google’s processes and policies to ensure the
13 integrity and security of a different advertising system); Huawei Techs., Co. v. Samsung Elecs. Co.,
14 No. 3:16-cv-02787-WHO, Dkt. No. 446, at 19 (N.D. Cal. Jan. 30, 2019) (sealing confidential sales
15 data because “disclosure would harm their competitive standing by giving competitors insight they
16 do not have”); Trotsky v. Travelers Indem. Co., 2013 WL 12116153, at *8 (W.D. Wash. May 8,
17 2013) (granting motion to seal as to “internal research results that disclose statistical coding that is
18 not publically available”).
19          Moreover, if publicly disclosed, malicious actors may use such information to seek to
20 compromise Google’s internal systems and data structures. Google would be placed at an increased
21 risk of cyber security threats, and data related to its users could similarly be at risk. See, e.g., In re
22 Google Inc. Gmail Litig., 2013 WL 5366963, at *3 (N.D. Cal. Sept. 25, 2013) (sealing “material
23 concern[ing] how users’ interactions with the Gmail system affects how messages are transmitted”
24 because if made public, it “could lead to a breach in the security of the Gmail system”). The security
25 threat is an additional reason for this Court to seal the identified information.
26          The information Google seeks to redact is the minimal amount of information needed to
27 protect its internal systems and operations from being exposed to not only its competitors but also
28 to nefarious actors who may improperly seek access to and disrupt these systems and operations.

                                                    -4-               Case No. 4:20-cv-05146-YGR-SVK
                              JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
     Case 4:20-cv-05146-YGR           Document 965        Filed 01/24/23      Page 6 of 11




 1 The “good cause” rather than the “compelling reasons” standard should apply but under either
 2 standard, Google’s sealing request is warranted.
 3                      C. RESPONSE TO PLAINTIFFS’ OPPOSITION
 4          Plaintiffs ask the Court to defer to the Ninth Circuit’s decision on Google’s pending motion
 5 to seal. Such deference is unnecessary. As Plaintiffs’ position statement indicates, the Ninth Circuit
 6 conducts an independent sealing review, and granting Google’s motion to seal would not interfere
 7 with the Ninth Circuit’s ruling. Moreover, notwithstanding Plaintiffs’ assertion that the Ninth
 8 Circuit’s sealing rules are “more restrictive” than those of this Court, the Ninth Circuit has expressly
 9 acknowledged that whether compelling reasons exist to grant a motion to seal “is ‘best left to the
10 sound discretion of the trial court.’” Ctr. For Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092
11 (9th Cir. 2016) (quoting Nixon, 435 U.S. at 559).
12          Plaintiffs also ask this Court to deny Google’s motion to seal based on rulings by a different
13 judge in an unrelated case. This Court is not bound by those rulings, and has consistently found
14 good cause to seal the same confidential material Google seeks to seal here. See, e.g., Dkt. 885. So
15 has Judge Gonzalez Rogers. See, e.g., Dkt. 936. As Google has explained, publication of internal
16 identifiers such as the ones Plaintiffs challenge here could allow competitors to piece together
17 presently unknown information about Google’s internal systems and put Google at an increased risk
18 of cybersecurity threats from malicious actors who are better informed about the names and
19 functions of the systems they seek to target.
20          Finally, Plaintiffs ask the Court to deny Google’s motion to seal the number of mapping
21 tables at issue. Like revealing Google’s internal names and identifiers, publishing the number of
22 mapping tables would similarly provide proprietary, nonpublic information to Google’s competitors
23 or to bad actors who threaten Google’s information security. By examining filings in this case, third
24 parties could determine the number of mapping tables Google maintains that are related to the
25 preservation obligations discussed in greater detail throughout publicly filed documents —thereby
26 giving them non-public insight into Google’s data storage infrastructure or making it easier to target
27 that infrastructure. In both cases, the information Google seeks to seal is narrowly tailored to protect
28

                                                   -5-               Case No. 4:20-cv-05146-YGR-SVK
                             JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
     Case 4:20-cv-05146-YGR          Document 965         Filed 01/24/23      Page 7 of 11




 1 Google’s confidential material without compromising the public’s ability to understand these
 2 proceedings. Google respectfully requests that all of the requested material be sealed.
 3 III.     PLAINTIFFS’ POSITION
 4          A. Google Has Filed Parallel Motions to Seal the Order in Two Different Courts
 5          As noted above in the Joint Statement, in Google’s haste to file a FRAP 12.1 motion last
 6 week (attaching a copy of the Order), Google filed a parallel motion to seal this very Order in the
 7 Court of Appeals. Plaintiffs are unaware of any case law addressing how the two Courts should
 8 navigate this issue. But the Ninth Circuit local rules adopt a “strong presumption” of public access
 9 even if the document were sealed in the District Court:
10             This Court has a strong presumption in favor of public access to documents.
               Therefore, except as provided in (d) below, the presumption is that every document
11
               filed in or by this Court (whether or not the document was sealed in the district court)
12             is in the public record unless this Court orders it to be sealed.

13 Ninth Circuit Rule 27-13(a) (Sealed Documents).
14          Leaving aside whether Google should be pursuing identical relief in two different Courts at
15 the same time, Google does not address whether and to what extent the District Court should apply
16 the Ninth Circuit’s more restrictive sealing rules. Given this unusual posture, Plaintiffs belie ve the
17 better course of action is to defer to the Ninth Circuit’s decision which is expected shortly.
18          B. Google’s Request to Seal the Database Names is Inconsistent with this Court’s Prior
               Rulings in Rodriguez v. Google, 3:20-CV-4688-RS (N.D. Cal.)
19
            In an unrelated privacy case against Google pending in this District, Magistrate Judge Alex
20
     Tse has repeatedly denied Google’s many motions to seal. See, e.g., Rodriguez Dkt. No. 185
21
     (denying motion to seal at 166); Rodriguez Dkt. No. 186 (denying in part motion to seal at Dkt. Nos.
22
     152 and 176); Rodriguez Dkt. No. 197 (denying motion to seal at Dkt. No. 187); Rodriguez Dkt.
23
     No. 223 (denying in part motion to seal at Dkt. No. 200); Rodriguez Dkt No. 225 (denying motion
24
     to seal at Dkt. Nos. 210 and 212). Some of these motions relate to discovery material that Google
25
     routinely sought to seal here in Calhoun – for example, Google moved to seal the words “Biscotti”
26
     and “Zwieback” in both cases, using similar arguments. Judge Tse rejected Google’s request, and
27
     Google thereafter followed that order here as well (thus, neither Biscotti nor Zwieback are redacted
28

                                                   -6-               Case No. 4:20-cv-05146-YGR-SVK
                             JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
     Case 4:20-cv-05146-YGR          Document 965        Filed 01/24/23     Page 8 of 11




 1 in this brief). But Google persists in seeking to seal the names of two data sources, advancing
 2 identical boilerplate arguments rejected by Judge Tse. See Google’s proposed redactions at Order
 3 at 1:18-20; 2:20; 3:21; 3:27; 4:1-4; 5:20 and 6:4. If publicly revealing these words would irrevocably
 4 harm Google, Plaintiffs do not wish to see them revealed. But Google has the burden to connect the
 5 dots, not just copy and paste boilerplate language. Google has not come close to explaining why
 6 these particular words are worthy of sealing when Judge Tse has repeatedly rejected Google’s
 7 arguments for sealing similar internal names, and Google’s request should be rejected here as well.
 8          C. Google’s Request to Seal the Number of Mapping Tables is Unsupported
 9          Google has also not explained what irreparable harm would come simply from revealing two
10 numbers, both of which are the number of mapping tables at issue. See Proposed Redactions at Order
11 1:18; 2:20. Google just makes the conclusory statement that it would be harmed (the same statement
12 it makes in every sealing motion) without explaining why revealing these two numbers would matter
13 – the same deficiency noted by Judge Tse in Rodriguez. As with the internal product names
14 discussed above, Plaintiffs do not wish any irreparable harm to befall Google. But at the same time,
15 the Court should not seal material just on Google’s say-so.
16   IV.    CONCLUSION
17          For the foregoing reasons, Google respectfully requests that the Court seal the identified
18 portions of the Order. Plaintiffs respectfully oppose.
19
                                      [Signatures on Following Page]
20
21
22
23
24
25
26
27
28

                                                  -7-               Case No. 4:20-cv-05146-YGR-SVK
                            JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
     Case 4:20-cv-05146-YGR        Document 965     Filed 01/24/23     Page 9 of 11




 1                                               Respectfully,
 2 DATED: January 24, 2023
 3
     BLEICHMAR FONTI & AULD LLP                  QUINN EMANUEL URQUHART &
 4                                               SULLIVAN, LLP

 5 By:      /s/ Lesley Weaver                    By: /s/ Andrew H. Schapiro
   Lesley Weaver (Cal. Bar No. 191305)           Andrew H. Schapiro (admitted pro hac vice)
 6 Angelica M. Ornelas (Cal. Bar No. 285929)     andrewschapiro@quinnemanuel.com
   Joshua D. Samra (Cal. Bar No. 313050)
 7 555 12th Street, Suite 1600                   191 N. Wacker Drive, Suite 2700
   Oakland, CA 94607                             Chicago, IL 60606
 8 Tel.: (415) 445-4003                          Tel: (312) 705-7400
   Fax: (415) 445-4020                           Fax: (312) 705-7401
 9 lweaver@bfalaw.com
   aornelas@bfalaw.com                           Stephen A. Broome (CA Bar No. 314605)
10 jsamra@bfalaw.com                             stephenbroome@quinnemanuel.com
11 DiCELLO LEVITT LLC                            Viola Trebicka (CA Bar No. 269526)
                                                 violatrebicka@quinnemanuel.com
12 By:                                           865 S. Figueroa Street, 10th Floor
             /s/ David A. Straite
                                                 Los Angeles, CA 90017
13 David  A. Straite (admitted pro hac vice)
                                                 Tel: (213) 443-3000
   Corban Rhodes (admitted pro hac vice)
                                                 Fax: (213) 443-3100
14 485 Lexington Ave., Tenth Floor
   New York, NY 10017 Tel.:
15 (646) 933-1000                                Jomaire Crawford (admitted pro hac vice)
                                                 jomairecrawford@quinnemanuel.com
   Fax: (646) 494-9648
16                                               51 Madison Avenue, 22nd Floor
   dstraite@dicellolevitt.com
                                                 New York, NY 10010
17 crhodes@dicellolevitt.com                     Tel: (212) 849-7000
                                                 Fax: (212) 849-7100
18 Amy E. Keller (admitted pro hac vice)
   Adam Prom (admitted pro hac vice)
19 Sharon Cruz (admitted pro hac vice)           Josef Ansorge (admitted pro hac vice)
   Ten North Dearborn Street, 6th Fl.            josefansorge@quinnemanuel.com
20 Chicago, Illinois 60602                       1300 I Street NW, Suite 900
   Tel.: (312) 214-7900                          Washington D.C., 20005
21 akeller@dicellolevitt.com                     Tel: (202) 538-8000
   aprom@dicellolevitt.com                       Fax: (202) 538-8100
22 scruz@dicellolevitt.com
23                                               Jonathan Tse (CA Bar No. 305468)
     SIMMONS HANLY CONROY LLC                    jonathantse@quinnemanuel.com
24                                               50 California Street, 22nd Floor
   By:       /s/ Jason ‘Jay’ Barnes              San Francisco, CA 94111
25 Jason ‘Jay’ Barnes (admitted pro hac vice)    Tel: (415) 875-6600
   Jenny Paulson (admitted pro hac vice)
                                                 Fax: (415) 875-6700
26 An Truong (admitted pro hac vice)
   Eric Johnson (admitted pro hac vice)
27 112 Madison Avenue, 7 th Floor                Attorneys for Defendant Google LLC
   New York, NY 10016
28 Tel.: (212) 784-6400

                                                 -8-               Case No. 4:20-cv-05146-YGR-SVK
                           JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
     Case 4:20-cv-05146-YGR       Document 965      Filed 01/24/23    Page 10 of 11




 1 Fax: (212) 213-5949
   jaybarnes@simmonsfirm.com
 2 atruong@simmonsfirm.com
   ejohnson@simmonsfirm.com
 3 jpaulson@simmonsfirm.com
 4 Counsel for Plaintiffs
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  -9-               Case No. 4:20-cv-05146-YGR-SVK
                            JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
     Case 4:20-cv-05146-YGR         Document 965         Filed 01/24/23    Page 11 of 11




 1                               ATTESTATION OF CONCURRENCE
 2          I am the ECF user whose ID and password are being used to file this Joint Submission.
 3
     Pursuant to Civil L.R. 5-1(h)(3), I hereby attest that each of the signatories identified above has
 4
     concurred in the filing of this document.
 5
 6
     Dated: January 24, 2023                     By          /s/ Andrew H. Schapiro
 7                                                    Andrew H. Schapiro
                                                      Counsel on behalf of Google LLC
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  -10-              Case No. 4:20-cv-05146-YGR-SVK
                            JOINT SUBMISSION RE: SEALING PORTIONS OF THE JANUARY 17, 2023 ORDER
